    3:24-cv-00906-JDA          Date Filed 02/22/24        Entry Number 1         Page 1 of 12




                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF SOUTH CAROLINA
                              COLUMBIA DIVISION


 AMERICAN CIVIL LIBERTIES UNION FOUNDATION
 OF SOUTH CAROLINA;

                Plaintiff,
        v.
                                                             Case No.:       3:24-cv-906-JDA
 BRYAN STIRLING, in his official capacity as
 Executive Director of the South Carolina                    Complaint for Declaratory and
 Department of Corrections;                                  Injunctive Relief
                Defendant.




                                       INTRODUCTION


       1.      The South Carolina Department of Corrections (“SCDC”) enforces the nation’s

most restrictive policy on media access to prisoners. Unique among prison systems nationwide,

SCDC takes the categorical position that “[i]nmates lose the privilege of speaking to the news

media when they enter SCDC.”

       2.      SCDC’s policy (the “Challenged Policy”) bans interviews by anyone, on any

topic, and by any real-time means: in person, by video, or by phone. And although

correspondence by mail is allowed, publication of a prisoner’s written speech is similarly

prohibited. As a result of the Challenged Policy, people in SCDC custody are deliberately and

comprehensively shut out of the public discourse.

       3.      The Challenged Policy infringes on Plaintiff American Civil Liberties Union

Foundation of South Carolina’s (ACLU-SC) First Amendment right to receive and publish the

speech of incarcerated people. At present, Plaintiff has two clients who are incarcerated in SCDC

and who seek to publish speech on several matters of deep public concern: prison administration,

prison healthcare, gender equity, and the propriety of capital punishment. Plaintiff’s ability to


                                                 1
    3:24-cv-00906-JDA           Date Filed 02/22/24        Entry Number 1         Page 2 of 12




interview those individuals and publish its clients’ speech is impeded by the Challenged Policy,

which threatens punishment of both Plaintiff and its clients.

        4.      By threatening to punish prisoners for corresponding with the media or other

individuals for the purpose of publication, and threatening to punish non-incarcerated persons

who publish the speech of incarcerated people, the Challenged Policy chills the First Amendment

rights of all incarcerated people and impedes Plaintiff’s right to receive and publish information

under the First Amendment. By suppressing the speech of incarcerated people and Plaintiff’s

access to that speech, the Challenged Policy intentionally stifles the public’s access to

information on matters of deep political concern.

        5.      Because the Challenged Policy is overbroad, is designed to suppress core First

Amendment activities, and is not justified by or tailored to achieve a legitimate penological

interest, Plaintiff asks that it be declared unconstitutional and be permanently enjoined.


                                            PARTIES


        6.      Plaintiff American Civil Liberties Union Foundation of South Carolina

(“ACLU-SC”) is a nonprofit organization incorporated in South Carolina. The mission of

ACLU-SC is to protect and advance civil rights and civil liberties in South Carolina through

litigation, education, and advocacy. As a component of its work, ACLU-SC engages in

multimedia storytelling to communicate with the public and lawmakers about its clients, issues,

and activities. Prison conditions, gender justice, and death penalty abolition are all core issue

areas for ACLU-SC.

        7.      Defendant Bryan Stirling is the Agency Director of the South Carolina

Department of Corrections. In that capacity, Defendant Stirling is the final policymaker for

SCDC and exercises final and ultimate authority over the construction and enforcement of all

SCDC policies, including but not limited to GA-02.01 and the Challenged Policy. He is sued in

his official capacity.



                                                  2
    3:24-cv-00906-JDA          Date Filed 02/22/24        Entry Number 1          Page 3 of 12




                               JURISDICTION AND VENUE


       8.      This action is brought under 42 U.S.C. § 1983 to redress violations of the First

and Fourteenth Amendments to the United States Constitution. This Court has jurisdiction under

28 U.S.C. § 1331.

       9.      Venue is proper pursuant to 28 U.S.C. § 1391(b) because a substantial part of the

events or omissions giving rise to the claims brought by Plaintiff have occurred in the District of

South Carolina and the Defendant is located in the District.

       10.     Venue is proper in the Columbia division under Local Civil Rule 3.01 because

that is where Defendant Stirling resides and where a substantial portion of the events or

omissions giving rise to the claims occurred.


                                 FACTUAL ALLEGATIONS

                                     The Challenged Policy

       11.     SCDC, under the direction of Defendant Stirling, prohibits individuals

incarcerated in SCDC facilities from communicating with the media or other individuals who

intend to publish, or cause to be published, the speech of incarcerated people.

       12.     Prisoner contact with members of the press is governed by SCDC Policy GA-

02.01, “Employee and Inmate Relations with News Media, Legislators, and Others.”

       13.     Under GA-02.01.8, “personal contact interviews with any SCDC inmate, untried

county safekeeper, or death row inmate by anyone will be prohibited,” (emphasis added).

       14.     Though the text of the policy only prohibits “personal contact interviews,” SCDC

has a pattern and practice of prohibiting incarcerated people from communicating with anyone

who intends to publish prisoner speech, either in person, by video, or by telephone. And although

prisoners are permitted to write letters to the press, SCDC does not allow incarcerated people to

publish their own writings in media outlets.



                                                 3
    3:24-cv-00906-JDA          Date Filed 02/22/24       Entry Number 1         Page 4 of 12




       15.     According to Defendant Stirling, the purpose of the Challenged Policy is to

ensure a victim of a crime is not exposed to the speech or expression of the crime’s perpetrator.

       16.     In an interview with The Post and Courier, Defendant Stirling explained that the

Challenged Policy is “rooted in victims’ rights,” and that “we don’t think victims should have to

see the person who harmed them or their family members on the evening news.” 1

       17.     In a press release issued by SCDC on August 30, 2023, the department left no

doubt about the absolute and categorical nature of the Challenged Policy: “Inmates lose the

privilege of speaking to the news media when they enter SCDC.” Exhibit A.

                             Enforcement of the Challenged Policy

       18.     A recent incident involving Richard Murdaugh typifies SCDC’s enforcement of

the Challenged Policy.

       19.     On August 8, 2023, SCDC learned that one of its prisoners—Richard

Murdaugh—had provided personal information to his attorney, Jim Griffin, during a legal call.

During the call, Mr. Murdaugh described his time in custody at SCDC and read a portion of his

journal to Mr. Griffin. The phone call was recorded by Mr. Griffin and was later provided to Fox

Nation for inclusion in a docu-series, “The Fall of the House of Murdaugh.” None of the

information contained in the call implicated prison security.

       20.     Despite authorizing the call, SCDC concluded that Mr. Murdaugh and Mr.

Griffin’s conduct violated the Challenged Policy. In a press release, SCDC stated that Mr.

Griffin’s disclosure of his attorney call with Mr. Murdaugh “violate[d] SCDC’s inmate interview

policy,” and resulted in an immediate revocation of Mr. Murdaugh’s tablet and phone privileges.




       1
         Ema Schumer, Alex Murdaugh brought new attention to old policy barring SC inmates
from talking to media, The Post and Courier (Sept. 16, 2023) (available at:
https://www.postandcourier.com/news/alex-murdaugh-brought-new-attention-to-old-policy-
barring-sc-inmates-from-talking-to-media/article_f00e71d2-5270-11ee-b5f1-
cbc792c93411.html).
                                                 4
    3:24-cv-00906-JDA           Date Filed 02/22/24      Entry Number 1         Page 5 of 12




        21.    In addition to punishing Mr. Murdaugh, SCDC also sent a letter to attorney Jim

Griffin advising him that his actions were prohibited by SCDC policy and “could jeopardize

[Griffin’s] telephonic communications with [Murdaugh] in the future.”

                SCDC’s Willful Disclosure of Prisoner Speech for Publication

        22.    Despite defending the Challenged Policy as necessary to protect “victims’ rights,”

SCDC sometimes willfully discloses the speech of incarcerated individuals to the media.

        23.    For example, SCDC has provided FITSNews with three separate batches of

messages sent to Mr. Murdaugh’s SCDC-issued tablet, as well as multiple audio files. The audio

files include a telephone call between Mr. Murdaugh and his son, Buster Murdaugh, that was

recorded by SCDC.

        24.    Following SCDC’s disclosure of Mr. Murdaugh’s speech, FITSNews published

an article about the recorded materials and published the materials themselves. As a result of

SCDC’s disclosure, Mr. Murdaugh’s recorded phone call has been posted to YouTube and has

received over 42,000 views. 2

        Plaintiff ACLU of South Carolina’s Planned Activities (“Planned Activities”)

        25.    Plaintiff ACLU-SC hired Paul Bowers to be the organization’s communications

director.
        26.    Prior to coming to ACLU-SC, Mr. Bowers worked at both the Charleston City

Paper and The Post and Courier. Mr. Bowers was twice named “Journalist of the Year” by the

South Carolina Press Association and his freelance work has appeared in The Guardian, New

York Times, Washington Post, New Republic, Jacobin, Huffington Post, and Al Jazeera

America.

        27.    As a member of ACLU-SC staff, Bowers is responsible for the organization’s

multimedia advocacy and storytelling. He writes press releases, blogs, and news articles;

2
 See Alex and Buster Murdaugh’s Jail Phone Call – 5/16/23, FITSNEWS (available at:
https://www.youtube.com/watch?v=7rwiM7rsnlc).
                                                5
    3:24-cv-00906-JDA          Date Filed 02/22/24       Entry Number 1         Page 6 of 12




conducts and publishes interviews; and has started recording a podcast to better platform the

stories and viewpoints of impacted individuals throughout South Carolina. One of the chief

purposes of Bowers’s work is to connect the public with ACLU-SC’s issues and with the people

who are most directly impacted by those issues in South Carolina.

        28.     When Bowers interviews individuals that ACLU-SC represents in an attorney-

client capacity, he does not give legal advice, and ACLU-SC does not claim attorney-client

privilege or other protections that attach to attorney-client communications.

        29.     As part of his work, Bowers works directly with individuals who are incarcerated.

For example, in October of 2023 Bowers interviewed Brittany Martin—a Black woman

wrongfully convicted and sentenced to four years in prison for her participation in a nonviolent

Black Lives Matter protest in Sumter—and published a blog post about her case. 3 That blog is

full of direct quotes from Ms. Martin and has been viewed over 2,200 times on ACLU-SC’s

website.

        30.     Despite being sentenced in South Carolina, Ms. Martin is being held in an Illinois

prison facility. If Ms. Martin was held in SCDC, she would have been subject to discipline under

the Challenged Policy because of the direct publication of her words. If Ms. Martin had been

threatened with discipline, ACLU-SC would not have published the blog.

        31.     ACLU-SC currently represents two individuals in SCDC custody who want to tell

their stories publicly.
                                            Sofia Cano

        32.     Sofia Cano is a transgender woman incarcerated in SCDC. She was incarcerated

at age 13, and at age 16 began to experience deep incongruence with her assigned gender. When

she was 18, Cano began discussing her gender identity issues and resulting distress with mental

health professionals at SCDC. Eventually, Cano was diagnosed with gender dysphoria.


3
 Paul Bowers, An Update on Brittany Martin, A Black Activist Behind Bars, ACLU of South
Carolina (Oct. 17, 2023) (available at: https://www.aclusc.org/en/news/update-brittany-martin-
black-activist-behind-bars).
                                                 6
    3:24-cv-00906-JDA          Date Filed 02/22/24       Entry Number 1        Page 7 of 12




         33.   Because of her gender dysphoria, Cano has experienced suicidal ideation and has

even attempted auto-castration. Prevailing medical standards provide that Cano should receive

hormone therapy, but SCDC refuses to provide that treatment. As a result of her untreated gender

dysphoria, Cano has continued to endure serious distress.

         34.   Plaintiff ACLU-SC represents Ms. Cano in a lawsuit challenging SCDC’s denial

of care under the Eighth Amendment and under Title II of the Americans with Disabilities Act

(ADA). See Cano v. Stirling, et al., No. 9:22-cv-4247-JDA-MHC.

         35.   Plaintiff has access to Ms. Cano by telephone and through in-person visitation.

         36.   ACLU-SC is heavily involved in debates at the Statehouse over the legality and

advisability of state-imposed restrictions on transgender healthcare.

         37.   ACLU-SC has a First Amendment right to share the speech of its client, Sofia

Cano, with the public.

         38.   To make an informed decision about the propriety of transgender healthcare bans,

the public has a right to hear about the devastating physical and emotional costs of denying

medical care to individuals with gender dysphoria.

         39.   Although ACLU-SC can tell parts of Ms. Cano’s story itself, SCDC has no

legitimate penological interest in preventing ACLU-SC from publishing an article, letter, or

podcast that shares the impact of SCDC’s inhumane denial of treatment in Ms. Cano’s own

words.

                                       Marion Bowman Jr.

         40.   Marion Bowman Jr. is man held on South Carolina’s death row. Mr. Bowman has

exhausted his appeals and postconviction claims and is now preparing to petition for executive

clemency.

         41.   Under the South Carolina Constitution, the Governor has authority to commute a

sentence of death to a sentence of life imprisonment. The decision to grant or deny clemency is




                                                 7
    3:24-cv-00906-JDA           Date Filed 02/22/24        Entry Number 1          Page 8 of 12




entirely discretionary and is subject only to “political correctives, not judicial intervention.”

Cavazos v. Smith, 565 U.S. 1, 9 (2011).

       42.     ACLU-SC advocates for death penalty abolition and improving prison conditions.

As part of that advocacy, ACLU-SC is working with Mr. Bowman to help him publicize his

case, his petition for clemency, and his experience of life on death row in South Carolina.

       43.     The goal of publishing Mr. Bowman’s story is to increase political pressure in

favor of clemency, to shed light on the impropriety of capital punishment, and to inform the

public about the inhumane treatment endured by people incarcerated in SCDC.

       44.     Plaintiff has access to Mr. Bowman by telephone, video calls, and through in-

person visitation. Plaintiff has the technical capacity to record its phone and video calls with Mr.

Bowman for the purpose of publication.

       45.     A story about Marion Bowman—that is, a telling of his case and his life behind

bars—is not functionally equivalent to a story by Marion Bowman. A blog post by Paul Bowers

about how great a loss it would be if South Carolina kills Marion Bowman is no substitute for the

public hearing Marion’s own voice, his own laugh, his own anguish.

       46.     ACLU-SC seeks to record its phone calls with Marion Bowman for the purposes

of publishing the interviews in podcast-form.

       47.     In the context of prison advocacy, empathy is hard earned. The sound of another

person’s voice can break the demonizing and otherizing constructs that the public has about

“prisoners,” and can reveal the multidimensional humanity of those behind bars.

       48.     SCDC has no legitimate penological interest in prohibiting ACLU-SC from

publishing blogs, articles, letters, or a podcast that contains speech by Marion Bowman.




                                                  8
    3:24-cv-00906-JDA          Date Filed 02/22/24        Entry Number 1         Page 9 of 12




                                    CAUSES OF ACTION
                                   First Cause of Action
                                     42 U.S.C. § 1983
                The Challenged Policy Facially Violates the First Amendment

       49.     Plaintiff repeats and realleges the allegations in previous paragraphs of this

Complaint as if fully alleged herein.

       50.     As director of SCDC, Defendant Stirling is responsible for overseeing and

enforcing a policy and practice of punishing and threatening to punish incarcerated persons who

speak or write for publication, and third parties who facilitate publication an incarcerated

person’s speech.

       51.     SCDC’s stated policy is that “inmates lose the privilege of speaking to the news

media when they enter SCDC.”

       52.     SCDC does not have a substantial governmental interest, or even a legitimate

penological interest, in categorically suppressing all prisoner speech in the media.

       53.     The categorical prohibition on prisoner speech in the media is not reasonably

related to a legitimate penological interest such as ensuring security, maintaining order, or

furthering rehabilitation.

       54.     SCDC’s claimed interest—that is, protecting victims from hearing interviews with

incarcerated people—is purely about the suppression of speech.

       55.     Even if SCDC can articulate a reasonable basis for limiting some interviews and

restricting the publication of some speech by incarcerated people, the Challenged Policy lacks

any tailoring and is overbroad—that is, it suppresses a substantial amount of protected speech.

       56.     The Challenged Policy violates Plaintiff ACLU of South Carolina’s First

Amendment right to publish the speech of others, including incarcerated individuals.

       57.     Punishing, and threatening to punish, the publication of speech by prisoners chills

the protected speech of incarcerated people, erodes the public’s access to information on matters



                                                 9
   3:24-cv-00906-JDA            Date Filed 02/22/24         Entry Number 1          Page 10 of 12




of public importance, and violates Plaintiff ACLU of South Carolina’s First Amendment right to

receive and publish speech by incarcerated people.

        58.     Because SCDC’s policy is a content- and speaker-based restriction on speech that

lacks a legitimate penological justification, it is facially unconstitutional. SCDC may not prohibit

the publication of speech merely because the speaker is incarcerated in a SCDC facility.

        59.     On this first cause of action, Plaintiff asks the Court to permanently enjoin the

Challenged Policy and declare that it facially violates the First Amendment of the United States

Constitution.

        60.     Plaintiff also seeks all reasonable costs, expenses, and attorneys’ fees available

under 42 U.S.C. § 1988 or other applicable law.
                                 Second Cause of Action
                                    42 U.S.C. § 1983
  The Challenged Policy Violates the First Amendment as Applied to Plaintiff ACLU-SC

        61.     Plaintiffs repeats and realleges the allegations in previous paragraphs of this

Complaint as if fully alleged herein.

        62.     Plaintiff has a First Amendment right to publish the speech of individuals who

share their stories with ACLU-SC, including individuals incarcerated in SCDC.

        63.     SCDC does not have a substantial government interest, or even a legitimate

penological interest, in restricting Plaintiff’s access to its clients or its publication of the speech

of Sofia Cano and Marion Bowman.
        64.     On this second cause of action, Plaintiff asks the Court to declare that application

of the Challenged Policy to Plaintiff’s Planned Activities would violate the First Amendment and

to permanently enjoin the Challenged Policy as applied to Plaintiff ACLU-SC’s Planned

Activities.

        65.     Plaintiff also seeks all reasonable costs, expenses, and attorneys’ fees available

under 42 U.S.C. § 1988 or other applicable law.



                                                   10
   3:24-cv-00906-JDA           Date Filed 02/22/24       Entry Number 1          Page 11 of 12




                                   REQUEST FOR RELIEF
Plaintiff respectfully requests an order and judgment:

       i.      Declaring that Defendant’s policy and practice of prohibiting the publication of

speech by incarcerated individuals—i.e., the Challenged Policy—facially violates the First

Amendment to the United States Constitution;

       ii.     Preliminarily and permanently enjoining enforcement of the Challenged Policy;

       iii.    Preliminarily and permanently enjoining Defendant from enforcing the

Challenged Policy against Plaintiff, or its clients or agents, for engaging in the Planned

Activities;

       iv.     Awarding Plaintiff reasonable costs and attorneys’ fees pursuant to 42 U.S.C.

§ 1988 and other applicable laws; and

       v.      Granting Plaintiff such other relief as the Court deems just and proper.



Dated: February 22, 2024

Respectfully submitted,


ACLU OF SOUTH CAROLINA

/s/ Allen Chaney
Allen Chaney
Fed. Id. No. 13181
P.O. Box 1668
Columbia, SC 29202
T: (864) 372-6881
E: achaney@aclusc.org

AMERICAN CIVIL LIBERTIES UNION
FOUNDATION

Emerson Sykes*
Speech, Privacy, and Technology Project
125 Broad Street, Floor 18
New York, NY 10004
                                                 11
   3:24-cv-00906-JDA          Date Filed 02/22/24      Entry Number 1       Page 12 of 12




T: (212) 549-2500
E: esykes@aclu.org


David C. Fathi**
National Prison Project
915 15th Street NW, 7th Floor
Washington, DC 20005
Tel: (202) 548-6603
dfathi@aclu.org

Corene T. Kendrick*
National Prison Project
425 California St., Ste 700
San Francisco, CA 94104
Tel: (202) 393-4930
ckendrick@aclu.org

* Application for admission pro hac vice forthcoming

** Motion for admission pro hac vice forthcoming; not admitted in DC, practice limited to
federal courts.

Attorneys for Plaintiff




                                              12
